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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

City Of Chicago
                            Plaintiff,
v.                                                 Case No.: 1:19−cv−04547
                                                   Honorable Virginia M. Kendall
Jussie Smollett
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 13, 2021:


        MINUTE entry before the Honorable Sunil R. Harjani: Status hearing set for
12/16/2021 is stricken and reset to 1/25/2022 at 9:15 a.m. by telephone. Members of the
public and media will be able to call in to listen to this hearing but will be placed on mute.
The call−in number is (888) 684−8852 and the access code is 7354516. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Mailed notice(lxs, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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